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 1   ROBERT E. ATKINSON, ESQ., Bar No. 9958
     Email: robert@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   8965 S Eastern Ave, Suite 260
     Las Vegas, NV 89123
 4   Telephone: (702) 614-0600
     Facsimile: (702) 614-0647
 5
     Attorney for Plaintiff Brian D. Shapiro, Trustee
 6

 7                             UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEVADA
 8

 9                                                      Case No. 17-12299-abl
      In re:
                                                        Chapter 7
10    SOUTHEAST HOLDINGS
      CORPORATION;
11
                               Debtor.
12

13    BRIAN SHAPIRO, Trustee;                           Adv. No. 18-01046-abl
14                             Plaintiff,
      v.                                                CERTIFICATE OF SERVICE
15
      ODIN, LLC; and
16
      JULIA VASSINA;
17

18
                               Defendant.

19

20   The undersigned hereby certifies that I caused to be served the following document(s):
21              NOTICE OF SUBPOENA ON WELLS FARGO BANK, N.A. (Adv. ECF #38)
22   at the time and by the following means to the persons and entities as listed below:
23
               ■ U.S. MAIL – On December 28, 2018 to the addresses provided for Defendants per
24                   the order approving the withdrawal of their former counsel [Adv. ECF #27]:
25
                               Julia Vassina
26                             10787 Wilshire Blvd. Apt 601
                               Los Angeles, CA 90024
27

28



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 1                       ODIN, LLC
                         Managing Agent
 2                       C/O INCORP SERVICES, INC.
                         36 SO 18TH Ave Ste D
 3
                         Brighton, CO 80601
 4

 5
     DATED: December 28, 2018           ATKINSON LAW ASSOCIATES LTD.
 6

 7                                      By:           /s/ Robert Atkinson
                                              ROBERT E. ATKINSON, ESQ.
 8
                                              Nevada Bar No. 9958
 9                                            Attorney for Plaintiff

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